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15                             UNITED STATES DISTRICT COURT
16                            CENTRAL DISTRICT OF CALIFORNIA
17
18 UNITED TALENT AGENCY, LLC, a                      Case No. 2:21-cv-00369-MCS (Ex)
   Delaware limited liability company,
19                                                   Hon. Mark C. Scarsi
                  Plaintiff,
20                                                   OPPOSITION TO MARKEL’S
        v.                                           MOTION FOR SUMMARY
21                                                   JUDGMENT
   MARKEL AMERICAN INSURANCE
22 COMPANY, a Virginia company; and                  Statement of Genuine Disputes of
   DOES 1 through 10,                                Material Facts and Statement of
23                                                   Additional Material Facts filed
               Defendants.                           concurrently
24
                                                     Date: September 18, 2023
25                                                   Time: 9:00 a.m.
                                                     Dept.: 7C
26
                                                     Complaint filed: December 18, 2020
27                                                   Removal filed: January 14, 2021
28
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 1 I.           INTRODUCTION
 2              Markel American Insurance Company’s sole basis for initially denying
 3 United Talent Agency, LLC (“UTA”) coverage for the litigation and related
 4 arbitrations (the “Underlying Actions”) filed by Creative Artists Agency (“CAA”)
 5 was the Policy’s professional liability exclusion, which the Ninth Circuit
 6 unequivocally held does not apply. Despite losing its primary coverage defense,
 7 Markel doggedly seeks to avoid its coverage obligations and deprive UTA of its day
 8 in court by relying on arguments that are contrary to California law and this Court’s
 9 prior orders.
10              Specifically, Markel argues that California Insurance Code section 533 bars
11 coverage for the entirety of UTA’s claim. By advancing this argument, Markel asks
12 this Court to ignore decades of binding precedent that requires insurers to pay for
13 defense costs, regardless of the ultimate outcome of the litigation for which
14 coverage is sought. Markel additionally asks this Court to ignore multiple causes of
15 action in the Underlying Actions that do not require a showing of specific intent to
16 injure, which is necessary to establish a “wilful act” within the meaning of section
17 533. Markel’s position also contradicts its own Policy’s requirement that it pay for
18 defense costs even if the damages sought are otherwise uninsurable. And finally,
19 with respect to UTA, Markel cannot show that UTA authorized or ratified any
20 alleged willful conduct, which it must do to prove that section 533 in fact applies.
21              Markel’s argument that UTA’s claim is time-barred is equally flawed. This
22 Court already concluded that the limitation periods were tolled until the Underlying
23 Actions were terminated, and there is no dispute that UTA initiated this coverage
24 action less than two years after the Underlying Actions were resolved. Markel’s
25 only arguments in response is to disagree with this Court (and the decades of
26 precedent supporting the Court’s holding) and to cite intervening case law that does
27 not even address equitable tolling. Suffice it to say, Markel’s argument fails.
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  1              Markel next seeks to avoid its duties by claiming that the relief that CAA
  2 sought from UTA was restitutive in nature and that California law prohibits
  3 insurance for restitution awards. However, CAA’s claims do not fall within the
  4 category of “restitution,” as that word has been interpreted in the insurance context.
  5 Because CAA sought compensation for an expectancy to which it held no legal
  6 interest—future profits—that relief is “damages” (not “restitution”) for insurance
  7 purposes.
  8              Finally, Markel hopes to avoid UTA’s bad faith claim by relying on its
  9 breach-of-contract arguments and also baldly asserting that its coverage denial was
 10 reasonable based on its self-serving interpretation of the law. This argument fails,
 11 however, because bad faith claims can exist independently of breach-of-contract
 12 claims. There is ample evidence that Markel failed to execute its duties to handle
 13 UTA’s claim fairly and that it acted in a manner inconsistent with insurance industry
 14 customs, standards, and practices.
 15              For all these reasons, Markel’s motion should be denied.
 16 II.          MARKEL HAS THE BURDEN ON SUMMARY JUDGMENT
 17              “[I]t is well settled that ‘the burden is on an insured to establish that the
 18 occurrence forming the basis of its claim is within the basic scope of insurance
 19 coverage. And, once an insured has made this showing, the burden is on the insurer
 20 to prove the claim is specifically excluded.’” Dart Indus., Inc. v. Com. Union Ins.
 21 Co., 28 Cal. 4th 1059, 1071 (2002) (cleaned up). Markel states, “The parties do not
 22 dispute the applicability of [the Policy’s] Insuring Agreement, or that [CAA’s
 23 Second Amended Complaint] is a Claim alleging Wrongful Acts.” Mot. at 5. Thus,
 24 Markel concedes that UTA has established its initial burden of showing that the
 25 Underlying Actions fall within the Policy’s coverage grant, and it is Markel’s
 26 burden to prove that it does not owe coverage.
 27              Nevertheless, Markel seeks to foist its burden onto UTA by arguing that for
 28 UTA to show that the Underlying Actions fall within the Policy’s coverage grant,
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  1 UTA also needs to show that section 533 does not bar coverage for the Underlying
  2 Actions. Id. at 10. Markel has it backward. The Ninth Circuit explained, “Because
  3 section 533 is considered under California [law] to be an exclusionary clause, the
  4 insurer has the ‘burden of proving that the requested claims are matters “uninsurable
  5 under the law.”’” Unified W. Grocers, Inc. v. Twin City Fire Ins. Co., 457 F.3d
  6 1106, 1111 (9th Cir. 2006) (citation omitted); accord Downey Venture v. LMI Ins.
  7 Co., 66 Cal. App. 4th 478, 499-500 (1998) (“It is an implied exclusionary clause
  8 which, by statute, must be read into all insurance policies.”).
  9              The same is true for Markel’s other attempts to avoid liability: the statute of
 10 limitations (Markel’s first affirmative defense, Mot. at 17-20), uninsurable
 11 restitution (fifth affirmative defense, id. at 20), and a genuine dispute as to the law,
 12 precluding bad faith damages (sixth affirmative defense, id. at 21-22). ECF No. 16,
 13 at 5-6.1
 14              Because Markel bears the burden of proof, to prevail on summary judgment,
 15 Markel must “go beyond the pleadings and by [the party’s] own affidavits, or by the
 16 ‘depositions, answers to interrogatories, and admissions on file,’ designate ‘specific
 17 facts showing that there is a genuine issue for trial.’” Celotex Corp. v. Catrett, 477
 18 U.S. 317, 324 (1986) (citation omitted). Markel may not rely solely on conclusory
 19 allegations unsupported by factual data. Taylor v. List, 880 F.2d 1040, 1045 (9th
 20 Cir. 1989). “If [Markel] fails to produce enough evidence to create a genuine issue
 21 of material fact, [UTA] wins the motion for summary judgment.” Nissan Fire &
 22 Marine Ins. Co., Ltd. v. Fritz Cos. Inc., 210 F.3d 1099, 1103 (9th Cir. 2000).
 23
      1
      Cal. Sansome Co. v. U.S. Gypsum, 55 F.3d 1402, 1406 (9th Cir. 1995) (“A
 24 defendant raising the statute of limitations as an affirmative defense has the burden
 25 of proving the action is time barred.”); Raychem Corp. v. Fed. Ins. Co., 853 F. Supp.
    1170, 1175 (N.D. Cal. 1994) (“the insurer bears the burden at trial of proving that a
 26 statutory or policy exclusion or limitation applies.”); Fed. Ins. Co. v. Tungsten
    Heavy Powder & Parts, Inc., --- F. Supp. 3d ---, 2023 WL 1806816, at *16 (S.D.
 27 Cal. Feb. 7, 2023) (“The genuine-dispute doctrine is an affirmative defense to a bad-
    faith claim.”).
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  1 III.         SECTION 533 DOES NOT BAR COVERAGE
  2              UTA’s coverage claim arises from two duties that the Policy imposes on
  3 Markel: (1) the duty to advance defense costs “on a current basis” while the
  4 Underlying Actions were pending, and (2) the duty to indemnify UTA for settling
  5 the Underlying Actions. These are separate duties.
  6                       Instead of simply including defense costs in the definition
  7                       of covered “Loss” under the policy’s general
  8                       indemnification provision, the policy includes a separate
  9                       promise to “advance” defense costs . . . , subject to
 10                       [Markel’s] right to repayment upon a final determination
 11                       of coverage.
 12 Braden Partners, LP v. Twin City Fire Ins. Co., 2017 WL 63019, at *6 (N.D. Cal.
 13 Jan. 5, 2017); SAMF 12 (Markel “shall advance covered Claim Expenses on a
 14 current basis,” subject to a right to repayment “if and to the extent it is later
 15 determined the Insureds shall not be entitled under the terms and conditions of this
 16 policy to coverage for such Claim Expenses”).
 17              The Policy treats these duties differently. Although it excludes “matters
 18 uninsurable under the law” (like matters subject to section 533) from the definition
 19 of “Loss,” the Policy expressly states that this carve-out does not apply to “Claim
 20 Expenses,” which include defense costs. SGDMF 9, 11.3 Thus, the Policy obligates
 21 Markel to pay for defense costs, even if the Underlying Actions ultimately resulted
 22 in uninsurable liability. Because Markel is seeking to limit coverage, Markel bears
 23 the burden to prove what, if any, defense costs owe to non-covered claims—other
 24 than defense costs owing to “uninsurable matters”—and what portion of the liability
 25
      2
      “SAMF” refers to UTA’s Statement of Additional Material Facts, filed
 26 concurrently herewith.
 27 3 “SGDMF” refers to UTA’s Statement of Genuine Disputes of Material Facts, filed
    concurrently herewith.
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  1 is uninsurable. PMI Mortg. Ins. Co. v. Am. Int’l Specialty Lines Ins. Co., 291 F.
  2 App’x 40, 41 (9th Cir. 2008) (under California law, “[w]here the insurer has the
  3 burden of proving the lack of coverage, it also has the burden of proving the
  4 allocation of the loss between covered and uncovered losses”).
  5              Therefore, to carry its burden, Markel must point to evidence that shows
  6 conclusively that section 533 bars the entirety of UTA’s claim for coverage. Markel
  7 has failed to do so.
  8              A.       Allegations Are Not Evidence.
  9                       1.   Allegations Alone Cannot Sustain Summary Judgment When the
 10                            Alleged Conduct Is Not Inherently Harmful.
 11              Markel points to no facts at all in its argument that section 533 bars coverage.
 12 Its only citations are to the CAA lawsuit’s unproven allegations and to the Policy’s
 13 provisions.4 Allegations can sustain a motion for summary judgment under
 14 section 533 only if the alleged conduct is inherently harmful. See Unified, 457 F.3d
 15 at 1111-12 (section 533 bars coverage only if the insurer proves “a preconceived
 16 design to inflict harm” or if harm is inherent in the alleged wrongful act itself).
 17              The “inherently harmful” doctrine is epitomized in the context of child
 18 molestation, which “is always intentional, it is always wrongful, and it is always
 19 harmful.” J. C. Penney Cas. Ins. Co. v. M. K., 52 Cal. 3d 1009, 1025 (1991). Other
 20 uninsurable conduct includes first-degree murder, enslavement, racial harassment,
 21 arson, and knowingly exposing a sexual partner to a venereal disease.5
 22
    4
      “CAA lawsuit” refers to the action styled Creative Artists Agency, LLC v. United
 23 Talent  Agency, LLC, No. SC123994 (Cal. Super.), and is the only public proceeding
 24 of the Underlying   Actions.
    5
      See, respectively, State Farm Fire & Cas. Co. v. Dominguez, 113 Cal. App. 3d 1, 6
 25 (1982);  State Farm Gen. Ins. Co. v. Mintarsih, 175 Cal. App. 4th 274, 287-88
 26 (2009);  Allstate Ins. Co. v. Tankovich, 776 F. Supp. 1394, 1397-98 (N.D. Cal.
    1991); U.S. Fid. & Guar. Co. v. Am. Emp’r’s Ins. Co., 159 Cal. App. 3d 277, 281
 27 (1984), disapproved of on other grounds by J.C. Penney, 52 Cal. 3d 1009; Aetna
    Cas. & Sur. Co. v. Sheft, 989 F.2d 1105, 1108 (9th Cir. 1993).
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  1              Other conduct rarely rises to this level. Gray v. Zurich Ins. Co., 65 Cal. 2d
  2 263, 273 n.12 (1966) (“an act which under the traditional terminology of the law of
  3 torts is denominated ‘intentional’ or ‘wilful’ does not necessarily fall outside
  4 insurance coverage”). Indeed, allegations that the insured intentionally shot
  5 someone in self-defense do not clear section 533’s “inherently harmful” bar. Id.
  6 at 276. In the unfair competition context, only intentional inducement of another to
  7 infringe a patent has been found “inherently harmful.” Mez Indus., Inc. v. Pac. Nat’l
  8 Ins. Co., 76 Cal. App. 4th 856, 876-77 (1999). On the other hand, allegations of
  9 trademark infringement do not rise to that level. See First One Lending Corp. v.
 10 Hartford Cas. Ins. Co., 851 F. App’x 704, 707 (9th Cir. 2021).6
 11              Markel has cited no case, and we are aware of none, suggesting that allegedly
 12 recruiting employees from a competitor, or deciding to leave one company to work
 13 for a competitor, constitutes inherently harmful conduct for purposes of section 533.
 14 The same goes for allegedly soliciting a competitor’s clientele. The cases Markel
 15 cites are inapt. See Mot. at 11-12. Horace Mann Insurance Co. v. Barbara B. was a
 16 case about child molestation, and even then, the Supreme Court found section 533
 17 did not bar coverage for wrongful acts that were not necessarily sexual. 4 Cal. 4th
 18 1076, 1084-85 (1993). State Farm Fire & Casualty Co. v. Century Indemnity Co.,
 19 59 Cal. App. 4th 648 (1997), also dealt with child molestation. Marie Y. v. General
 20 Star Indemnity Co. addressed a dentist’s sexual molestation of his patient, but the
 21 Court of Appeal found section 533 did not apply to allegations that the dental
 22 assistant failed to report the dentist to the authorities. 110 Cal. App. 4th 928, 959-60
 23 (2003). Mintarsih addressed domestic enslavement, 175 Cal. App. 4th at 280, in
 24 which a jury had found the insureds had acted fraudulently and with malice.
 25
 26   6
      The California Supreme Court has left open the question whether intentional
 27 trademark infringement constitutes “inherent harm” for purposes of section 533.
    Palmer v. Truck Ins. Exch., 21 Cal. 4th 1109, 1114 (1999).
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  1 Amended Judgment on Jury Verdict, Mintarsih v. Lam, 2006 WL 6161031 (Cal.
  2 Super. May 12, 2006).
  3              As explained below, the alleged conduct here does not satisfy the “inherently
  4 harmful” standard.
  5                          2.    The CAA Lawsuit’s Causes of Action Do Not Meet the
  6                                “Inherently Harmful” Standard.
  7              If the causes of action in the underlying complaint do not require the plaintiff
  8 to prove the required willfulness contemplated in section 533, then the statute does
  9 not necessarily bar coverage. E.g., First One Lending Corp. v. Hartford Cas. Ins.
 10 Co., 755 F. App’x 710, 710 (9th Cir. 2019); Unified, 457 F.3d at 1111-12. The
 11 causes of action in the CAA lawsuit do not require the specific intent to injure that
 12 would make them “inherently harmful” for purposes of section 533:
 13                       • Intentional Interference with Contractual Relations: “While this is an
 14 intentional tort, it does not require that the defendant act with specific intent to
 15 interfere.” Davis v. Nadrich, 174 Cal. App. 4th 1, 10 (2009); accord Jenni Rivera
 16 Enters., LLC v. Latin World Ent. Holdings, Inc., 36 Cal. App. 5th 766, 788 (2019).
 17 The tort will apply “to an interference that is incidental to the actor’s independent
 18 purpose and desire but known to him to be a necessary consequence of his action.”
 19 Quelimane Co. v. Stewart Title Guar. Co., 19 Cal. 4th 26, 56 (1998).
 20                       • Inducing Breach of Contract: Claims for inducing breach of contract
 21 are generally analyzed within the same framework as claims for intentional
 22 interference with contractual relations—no specific intent is required. See Pac. Gas
 23 & Elec. Co. v. Bear Stearns & Co., 50 Cal. 3d 1118, 1126-27 (1990); Restatement
 24 (Third) of Torts: Liab. for Econ. Harm § 17 (Am. L. Inst. 2020).
 25                       • Intentional Interference with Prospective Economic Advantage: The
 26 California Supreme Court concluded that “a plaintiff need not plead that the
 27 defendant acted with the specific intent to interfere with the plaintiff’s business
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  1 expectancy in order to state a claim for this tort.” Korea Supply Co. v. Lockheed
  2 Martin Corp., 29 Cal. 4th 1134, 1141 (2003).
  3                       • Breach of Fiduciary Duty/Duty of Loyalty: “The elements of a cause of
  4 action for breach of fiduciary duty are: (1) the existence of a fiduciary duty; (2) the
  5 breach of that duty; and (3) damage proximately caused by that breach.” Mosier v.
  6 S. Cal. Physicians Ins. Exch., 63 Cal. App.4th 1022, 1044 (1998); see also Pierce v.
  7 Lyman, 1 Cal. App. 4th 1093, 1101 (1991) (same elements for breach of loyalty);
  8 Judicial Council of California Civil Jury Instruction (“CACI”) Series 4100 (Breach
  9 of Fiduciary Duty). Specific intent is not required.
 10                       • Aiding and Abetting: The Ninth Circuit concluded that “[a]lthough the
 11 California decisions on this subject may not be entirely consistent, we agree with the
 12 district court that aiding and abetting liability under California law, as applied by the
 13 California state courts, requires a finding of actual knowledge, not specific intent.”
 14 In re First Alliance Mortg. Co., 471 F.3d 977, 993 (9th Cir. 2006). CACI instruction
 15 3610 for aiding and abetting comports with the standard articulated in First
 16 Alliance—no specific intent is required. Intent to act or participate is not the same as
 17 specific intent to injure. See B & E Convalescent Ctr. v. State Comp. Ins. Fund, 8
 18 Cal. App. 4th 78, 94 (1992).
 19                       • Violations of California Business and Professions Code section 17200:
 20 California’s Unfair Competition Law (“UCL”), “imposes strict liability when
 21 property or monetary losses are occasioned by conduct that constitutes an unfair
 22 business practice.” Cortez v. Purolator Air Filtration Prods. Co., 23 Cal. 4th 163,
 23 181 (2000). Accordingly, “the plaintiff need not show that a UCL defendant
 24 intended to injure anyone through its unfair or unlawful conduct.” Id.; see also
 25 Lippitt v. Raymond James Fin. Servs., Inc., 340 F.3d 1033, 1043 (9th Cir. 2003)
 26 (necessary elements of UCL claim do not include specific intent).
 27                       • Breach of Contract: “The essential elements of a breach of contract
 28 claim are: ‘(1) the contract, (2) plaintiff’s performance or excuse for
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  1 nonperformance, (3) defendant’s breach, and (4) the resulting damages to plaintiff.’”
  2 Hamilton v. Greenwich Investors XXVI, LLC, 195 Cal. App. 4th 1602, 1614 (2011)
  3 (quoting Reichert v. General Ins. Co., 68 Cal. 2d 822, 830 (1968)). Specific intent is
  4 not required.
  5                       • Breach of the Implied Covenant of Good Faith and Fair Dealing: CACI
  6 instruction 325 states the required elements for breach of the implied covenant of
  7 good faith and fair dealing. Specific intent is not required.
  8              None of CAA’s causes of action—let alone all of them—requires an act
  9 deliberately done for the express purpose of causing damage or intentionally
 10 performed with knowledge that damage is highly probable or substantially certain to
 11 result. In other words, they do not “necessarily involve a wilful act.”
 12                         3.    Markel Has Not Shown Any Evidence of Subjective Intent, So Its
 13                               Motion Fails.
 14              Absent conduct that is inherently harmful, the insurer must prove that the
 15 insureds “subjectively plan[ned] the injury or subjectively fores[aw] the injury ‘as
 16 practically certain.’” Zelda Inc. v. Northland Ins. Co., 56 Cal. App. 4th 1252, 1261
 17 (1997) (quoting Waller v. Truck Ins. Exch., 11 Cal. 4th 1, 17 (1995)). Markel has
 18 pointed to no evidence that speaks to such scienter. Citing unproven allegations is
 19 not enough to carry Markel’s burden on summary judgment. Moran v. Selig, 447
 20 F.3d 748, 759-60 (9th Cir. 2006); Unified, 457 F.3d at 1112 (“In determining
 21 whether an unproven claim is covered by an applicable insurance policy, we are
 22 reluctant to frame coverage based on isolated allegations in an underlying
 23 complaint.”). As the California Supreme Court has observed:
 24                         Obviously, . . . the complainant in the third party action
 25                         drafts his complaint in the broadest terms; he may very
 26                         well stretch the action which lies in only nonintentional
 27                         conduct to the dramatic complaint that alleges intentional
 28                         misconduct. In light of the likely overstatement of the
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  1                       complaint and of the plasticity of modern pleading, we
  2                       should hardly designate the third party as the arbiter of the
  3                       policy’s coverage.
  4 Gray, 65 Cal. 2d at 276. Because Markel has not cited any evidence to support its
  5 motion for summary judgment on section 533, Markel has failed to carry its burden,
  6 and its motion must be denied.
  7              B.       Regardless of What Individuals May Have Intended, Markel Must
  8                       Provide Coverage for UTA the Business.
  9              Even if Markel had overwhelming evidence (let alone zero evidence) showing
 10 that all of the individual insureds acted with the subjective intent required to fall
 11 within section 533’s prohibitions, Markel still would owe coverage to UTA the
 12 company. See Lisa M. v. Henry Mayo Newhall Mem’l Hosp., 12 Cal. 4th 291
 13 (1995). Indeed, California recognizes that in a corporate setting, even if the officers
 14 or employees of a corporation commit intentional torts, and even if the corporation
 15 is held to be vicariously liable under tort doctrines, coverage still exists for the
 16 corporation. See Dart Indus., Inc. v. Liberty Mut. Ins. Co., 484 F.2d 1295, 1296-99
 17 (9th Cir. 1974) (no bar to coverage for corporation unless governing board
 18 authorized or ratified intentional torts of company’s president); Downey, 66 Cal.
 19 App. 4th at 512 (there is no bar for “indemnity of an insured who does not
 20 personally commit the act but who is vicariously liable for another person’s act of
 21 malicious prosecution”); Lujan v. Gordon, 70 Cal. App. 3d 260, 262 (1977) (all
 22 partners in law firm exposed to liability for malicious prosecution as the result of
 23 malicious action filed by one partner still were entitled to coverage). Accordingly,
 24 Markel cannot avoid its coverage obligations to UTA based on section 533 unless it
 25 can prove that UTA’s board of directors authorized or ratified the purportedly
 26 intentional conduct. Dart, 484 F.2d at 1299.
 27              Markel argues that because “the CAA complaint makes repeated reference to
 28 the involvement of senior UTA management,” that is enough to deny UTA’s
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  1 coverage claim. Mot. at 13. This argument is contrary to law. For instance, in Dart,
  2 the company’s president was the person who committed the intentionally harmful
  3 conduct barred by section 533, but the Ninth Circuit still held that the insurer needed
  4 to prove that the board of directors had formally authorized or ratified the
  5 president’s conduct to avoid coverage for the company. 484 F.2d at 1299. It was
  6 even conceded that other corporate officials were consulted about or were aware of
  7 the president’s libelous letter before he sent it, and still the company was entitled to
  8 coverage unless the board had formally acted to approve of the president’s
  9 wrongdoing. Id.
 10              Markel’s reliance on Coit Drapery Cleaners, Inc. v. Sequoia Insurance Co.,
 11 14 Cal. App. 4th 1595 (1993), for the proposition that willfulness can be imputed to
 12 the corporation simply because an intentional act is committed by a member of
 13 senior management is just wrong. Mot. at 13. In that case, the company’s founder,
 14 chairman, president, and major shareholder (all one man) was a notorious roué, who
 15 routinely hired young women, sexually harassed them, assaulted them, or pimped
 16 them to his clients, and then fired them if they complained. 14 Cal. App. 4th
 17 at 1599-1600. The Court of Appeal found that section 533 barred coverage for the
 18 corporation because there was no way for the board of directors to hold the dastard
 19 accountable, and even if they could, “the evidence showed his sexual misconduct
 20 with female employees was affirmatively known to, and ratified by, the board of
 21 directors and Coit.” Id. at 1605 (emphasis added).
 22              Markel, again, has cited no evidence that UTA’s governing body made any
 23 such official act. All Markel cites are the unproven allegations in the CAA lawsuit.
 24 Mot. at 13. Again, CAA’s allegations are not sufficient to sustain Markel’s motion
 25 for summary judgment.
 26              C.       Markel Must Pay All Defense Costs.
 27              Even if Markel had sufficient evidence (let alone zero evidence) to show that
 28 individual insureds’ acts fell within section 533’s prohibitions, and even if Markel
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  1 had sufficient evidence (let alone zero evidence) to show that UTA’s corporate
  2 governance formally authorized or ratified uninsurable conduct, Markel still must
  3 pay for all of UTA’s defense costs.
  4              “[S]ection 533 precludes only indemnification of wilful conduct and not the
  5 defense of an action in which such conduct is alleged.” Republic Indem. Co. v.
  6 Superior Ct., 224 Cal. App. 3d 492, 497 (1990) (emphasis added); accord Gray, 65
  7 Cal. 2d at 277 (section 533 “forbid[s] only contracts which indemnify for ‘loss’ or
  8 ‘responsibility’ resulting from wilful wrongdoing”); B & E, 8 Cal. App. 4th at 93
  9 (“if the reasonable expectations of an insured are that a defense will be provided for
 10 a claim, then the insurer cannot escape that obligation merely because public policy
 11 precludes it from indemnifying that claim”).
 12              Markel argues that it is not obliged to pay for defense costs owing to
 13 uninsurable liability unless the Policy expressly obligates payment of those costs.
 14 Mot. at 13 (citing Downey, 66 Cal. App. 4th at 508-09). Unfortunately for Markel,
 15 the Policy does state that even though it excludes coverage for uninsurable matters,
 16 it “does not exclude Claim Expenses with respect to” uninsurable matters.
 17 SGDMF 11. In other words, the Policy promises to pay “Claim Expenses” for
 18 matters that are uninsurable, like those that would be non-indemnifiable under
 19 section 533. Thus, contrary to Markel’s suggestion, the Policy includes an “express
 20 promise” to pay for defense costs even if they relate to conduct excluded by section
 21 533.
 22              Markel is entitled to repayment of defense costs and other claim expenses
 23 only if it can “later” establish that they owed to the defense of claims not covered
 24 “under the terms and conditions of this policy.” SAMF 1. This is not applicable to
 25 claim expenses owing to the defense of allegations of uninsurable liability. There is
 26 a difference between clams that are not covered “under the terms and conditions of
 27 this policy” (for which Markel can seek repayment of defense costs) and claims
 28 alleging “matters uninsurable under the law pursuant to which this policy is
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  1 construed” (the defense of which Markel affirmatively promised to pay). Cal. Civ.
  2 Code § 1641 (“The whole of a contract is to be taken together, so as to give effect to
  3 every part, if reasonably practicable, each clause helping to interpret the other.”);
  4 Foster-Gardner, Inc. v. Nat’l Union Fire Ins. Co., 18 Cal. 4th 857, 880 (1998)
  5 (terms that are not used interchangeably in an insurance policy carry different
  6 meanings). If Markel were able to seek repayment of defense costs owing to
  7 uninsurable matters, rather than non-covered matters, then its promise to pay for
  8 such defense costs would be illusory, which is anathema to California’s law of
  9 insurance policy interpretation. Cal. Civ. Code § 1643 (“A contract must receive
 10 such an interpretation as will make it lawful, operative, definite, reasonable, and
 11 capable of being carried into effect, if it can be done without violating the intention
 12 of the parties.”); Safeco Ins. Co. v. Robert S., 26 Cal. 4th 758, 765 (2001) (same).
 13              D.       Markel Must Pay the Full Amount of UTA’s Loss.
 14              UTA does not dispute that section 533’s prohibition of coverage for willful
 15 conduct can apply to settlements and judgments. However, for Markel to prevail, it
 16 must show, specifically, how much of the settlement UTA paid owed solely to non-
 17 covered claims. PMI, 291 F. App’x at 41; Safeway Stores, Inc. v. Nat’l Union Fire
 18 Ins. Co., 64 F.3d 1282, 1287-88 (9th Cir. 1995) (insurer must indemnify a mixed
 19 action fully unless it can establish amounts attributable solely to acts of non-covered
 20 parties); In re C.M. Meiers Co., Inc., 527 B.R. 388, 407 (Bankr. C.D. Cal. 2015)
 21 (“In a mixed cause of action, where it is unclear whether a judgment was based on
 22 covered or uncovered claims, the insurer can be liable for the entire judgment.”);
 23 accord Nordstrom, Inc. v. Chubb & Son, Inc., 54 F.3d 1424, 1432 (9th Cir. 1995)
 24 (same); RSUI Indem. Co. v. Murdock, 248 A.3d 887, 909 (Del. 2021) (“[T]he ‘larger
 25 settlement rule’ captures the extent to which [an insurer’s] indemnity obligations
 26 might be reduced by an allocation of a portion of [a] settlement to non-covered
 27 losses or uninsured parties.”). The Policy’s allocation provision is consistent with
 28 this rule, providing that covered loss shall be allocated to Markel and uncovered loss
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  1 shall be allocated to UTA, SGDMF 12, but California law is clear that the burden
  2 rests on Markel to prove what amounts are not covered.
  3              Aside from its assertion that coverage for the entirety of the Underlying
  4 Actions is barred by Section 533 (which, for the reasons discussed above, is wrong),
  5 Markel has not pointed to any evidence supporting its contention that section 533
  6 bars any aspect of the settlement. Accordingly, Markel’s motion should be denied.
  7 IV.          UTA’S CLAIMS ARE NOT TIME BARRED.
  8              Markel’s attempt to renew its argument that the statutes of limitations for
  9 UTA’s claim have expired is nothing more than a request for this Court to
 10 reconsider its prior ruling against Markel. This Court already concluded that the
 11 statutes of limitations were tolled until the Underlying Actions were resolved. ECF
 12 No. 15. As this Court explained in its Order denying Markel’s motion to dismiss:
 13                       The California Supreme Court concluded that the
 14                       limitations period for failure to defend under a title
 15                       insurance policy “accrues when the insurer refuses the
 16                       insured’s tender of defense, but is tolled until the
 17                       underlying action is terminated by final judgment.”
 18                       Lambert v. Commonwealth Land Title Ins. Co., 53 Cal. 3d
 19                       1072, 1080 (1991). . . . Lambert and its progeny indicated
 20                       that California law permits equitable tolling where an
 21                       insurer declines to advance defense costs, just as equitable
 22                       tolling is available when an insurer refuses to defend.
 23 Id. at 3-4. UTA initiated this action on December 18, 2020, ECF No. 5, which is less
 24 than two years from the December 21, 2018, settlement of the Underlying Actions
 25 and the January 28, 2019, dismissal of the CAA lawsuit. SAMF 2, 3. Because any
 26 statutes of limitations were equitably tolled until the Underlying Actions were
 27 concluded, the applicable four-year and two-year statutes of limitation for breach of
 28 contract and bad faith, respectively, do not bar UTA’s claims.
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  1              Markel’s only argument in response to this Court’s prior holding is that it
  2 “makes no sense.” Despite contrary California law, Markel claims equitable tolling
  3 should not apply when, as now, the Policy provides for a duty to advance defense
  4 costs rather than a duty to defend. However, just as in Lambert—where a continuing
  5 duty has been breached and the plaintiff has the option of filing suit after complete
  6 performance—Markel’s duty to advance defense costs is one that continues
  7 throughout the pendency of the Underlying Actions. The Policy expressly states that
  8 Markel “shall advance covered Claim Expenses on a current basis.” SGDMF 8
  9 (italics added). This means that Markel’s duty to advance defense costs continues as
 10 UTA incurs additional fees and expenses in defense of the Underlying Actions. E.g.,
 11 Braden, 2017 WL 63019, at *5 (duty to advance defense costs “on a current basis”
 12 creates an existing duty during the pendency of the underlying lawsuit). Thus,
 13 Markel could have assumed its duty to advance defense costs at any time prior to the
 14 conclusion of the Underlying Actions. See Lambert, 53 Cal. 3d at 1076-7 (because
 15 the insurer could have assumed its duty at any time, “the insured ‘could elect to wait
 16 until a final judgment had been entered and the duty to defend had ceased’” (citation
 17 omitted)). Accordingly, the California Supreme Court’s rationale for equitable
 18 tolling applies with equal force here. UTA should not be placed in the “untenable”
 19 position of having to sue its insurer to vindicate the duty to advance defense costs
 20 even before the duty itself expires.
 21              In Feduniak v. Old Republic National Title Co., a title insurer argued that a
 22 claim for reimbursement of defense costs accrued when an underlying lawsuit was
 23 filed. 2015 WL 632324, at *3 (N.D. Cal. Feb. 13, 2015). The court characterized the
 24 insurers’ argument—like those of Markel here—as “not well-taken” and held that
 25 Lambert’s “rationale is equally applicable to the [plaintiffs’] claim that [the insurer]
 26 was obligated under § 4(b) to pay or reimburse for defense costs incurred in the
 27 [underlying] action.” Id., at *4. The court further stated that “[i]t would be
 28 unreasonable to permit the statute of limitations to run against a claim for
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  1 reimbursement of defense costs while those defense costs continue to be incurred.”
  2 Id. The same reasoning is applicable here.
  3              Grasping at straws, Markel claims that the Ninth Circuit’s recent decision in
  4 Marinelarena v. Allstate Northbrook Indemnity Co., --- F. App’x ---, 2023 WL
  5 3033498 (9th Cir., April 21, 2023), supports a departure from established California
  6 law. Mot. at 19. Markel is wrong. Marinelarena does not involve the duty to
  7 advance defense costs or the duty to defend and, therefore, does not even involve
  8 equitable tolling. Instead, it involved a bad faith settlement offer that, according to
  9 the Ninth Circuit, gave the insured “reason to suspect that Allstate was dealing with
 10 her in bad faith.” Id. at *1. In the absence of an ongoing duty, such as Markel’s duty
 11 to advance defense costs, there is no basis to argue equitable tolling and, tellingly,
 12 the insured in Marinelarena did not advance such an argument.
 13 V.           “RESTITUTION,” IN THE INSURANCE SENSE, IS NOT AT ISSUE.
 14              Markel next argues that the Underlying Actions sought “restitution and
 15 disgorgement of UTA’s ill-gotten gains,” which, according to Markel, “are
 16 uninsurable in California . . . regardless of how they are labeled.” Mot. at 20.
 17 Contrary to Markel’s proclamation, the term “restitution” has a particular meaning
 18 in the context of insurance that should not be confused with other broader uses of
 19 the word to describe an award of money. “‘“Restitution” is an ambiguous term,
 20 sometimes referring to the disgorging of something which has been taken and at
 21 times referring to compensation for injury done.’” People ex rel. Kennedy v.
 22 Beaumont Inv., Ltd., 111 Cal. App. 4th 102, 134 (2003) (quoting John D. Calamari
 23 & Joseph M. Perillo, The Law of Contracts § 9-23 at 376 (3d ed. 1987) (“Often, the
 24 result under either meaning of the term would be the same”)) (emphasis added).
 25              In AIU Insurance Co. v. Superior Court, 51 Cal. 3d 807 (1990), the California
 26 Supreme Court specifically limited uninsurable “restitution” to forms of relief that
 27 are far narrower than what CAA sought through the Underlying Actions. In AIU, the
 28 insured faced liability for environmental contamination and was ordered to
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  1 reimburse government agencies for the costs incurred in the subsequent cleanup. Id.
  2 at 815. Undertaking a nationwide survey of cases, the California Supreme Court
  3 refused to institute a regime that “would unreasonably make coverage hinge on the
  4 ‘mere fortuity’ of which recovery mechanism (injunction, reimbursement, or
  5 ‘damages to natural resources’) the government selects in enforcing CERCLA.” Id.
  6 at 819. Thus, the California Supreme Court held that reimbursement of government
  7 agencies’ response costs “is restitutive in that it attempts to restore to the agencies
  8 the value of a benefit constructively conferred on [the insured], . . . [but it] is not
  9 restitutive in the narrow sense . . . as inappropriate for insurance coverage.” Id. at
 10 836. It then concluded the reimbursement was “damages” within the terms of the
 11 insurance policies. Id. at 837. Thus, when the cause of action seeks payment to
 12 compensate for harm, it does not matter if the theory of recovery is restitutive in
 13 nature for insurance purposes.
 14              Bank of the West v. Superior Court, 2 Cal. 4th 1254 (1992), is an illustration
 15 of what “restitution” means in the insurance context—and it does not apply to the
 16 relief CAA sought in the Underlying Actions. In Bank, the insured faced consumer
 17 class actions that claimed that it had overcharged them with hidden fees, exorbitant
 18 fees, and penalties. 2 Cal. 4th at 1258-59. In other words, the underlying plaintiffs
 19 claimed that the bank had taken money directly from them, and through their class
 20 action, they were trying to get that money back. That is a different sense of
 21 “restitution” than what was at issue in the Underlying Actions. Here, CAA never
 22 gave anything to UTA; its theory of recovery was that it was damaged because of
 23 lost future profits.
 24              None of the cases that Markel lists in its string citation to support its argument
 25 suggests that CAA claimed uninsurable relief. For instance, in Pan Pacific Retail
 26 Properties, Inc. v. Gulf Insurance Co., the Ninth Circuit reversed the district court’s
 27 finding that the settlement of derivative and direct claims against corporate directors
 28 were uninsurable restitution because it was conceivable that the settlement also
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  1 encompassed “compensation for the individualized harm of the shareholders and not
  2 for the return of money wrongfully withheld by Appellants.” 471 F.3d 961, 969 (9th
  3 Cir. 2006). That court explained, “The insurance companies here were required to
  4 cover claims that sought compensation for a loss, even if the loss to the victim could
  5 also be construed as an ill-gotten benefit to the insured.” Id. at 966. Yet, Markel
  6 encourages the Court to hold the exact opposite now. CAA’s claim for “restitution”
  7 was that it lost future earnings when it lost agents. Even if it characterized that lost
  8 expectancy as UTA’s ill-gotten gains, Markel is not relieved of its obligations by
  9 calling CAA’s claims restitutive.
 10              Unified similarly provides no support for Markel’s position. In Unified, the
 11 Ninth Circuit reversed the insurer’s win on summary judgment because a question
 12 of fact existed as to whether the money at issue in the underlying dispute amounted
 13 to uninsurable restitution, or also included damages “in an amount greater than the
 14 amount of money actually alleged to have been taken by the Defendants.” 457 F.3d
 15 at 1115-16. Again, CAA did not allege that UTA took money from it.
 16              Neither Pan nor Unified addresses whether lost profits or lost market share—
 17 like those sought by CAA—are uninsurable in California, and we are aware of no
 18 such decision. On the contrary, in a matter of first impression, the California Court
 19 of Appeal recently held in the context of California’s Unfair Competition Law
 20 (which only permits restitution to consumers, not damages), “Lost profits are
 21 damages, not restitution . . . .” Lee v. Luxottica Retail N. Am., Inc., 65 Cal. App. 5th
 22 793, 797 (2021). “Simply put, . . . a plaintiff cannot recover anticipated but
 23 unearned, future income . . . in the guise of restitution because, absent a legally
 24 enforceable right to that stream of future income, the plaintiff lacks an ownership
 25 interest in it and thus there is nothing to ‘restore.’” Id. at 807.
 26              There is no reason why that rationale would result in a different conclusion
 27 now, when considering the insurability of CAA’s claim for lost profits. See Jaffe v.
 28 Cranford Ins. Co., 168 Cal. App. 3d 930, 935 (1985) (“Although the concept of
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  1 ‘restitution’ may have a broader meaning in other contexts,” a money award is
  2 uninsurable only when “[t]he defendant is asked to return something he wrongfully
  3 received,” not when “he is . . . asked to compensate the plaintiff for injury suffered
  4 as a result of his conduct”). The general rule is that decrease in income as a result of
  5 competitive behavior is an economic injury that can be remedied by the payment of
  6 money damages. See United Nat’l Maint., Inc. v. San Diego Convention Ctr. Corp.,
  7 2012 WL 3861946, at *8 (S.D. Cal. Sept. 5, 2012) (denying motion for permanent
  8 injunction and collecting cases). At the very least, this shows that UTA reasonably
  9 expected that CAA’s claims for lost profits would be covered, an expectation that
 10 must guide this Court. AIU, 51 Cal. 3d at 830.
 11 VI.          UTA’S BAD FAITH CLAIM SHOULD MOVE FORWARD.
 12              Markel argues that, because it is entitled to summary judgment on UTA’s
 13 breach of contract claims, it is also entitled to summary judgment on UTA’s bad
 14 faith cause of action. Mot. at 21. As discussed above, that is not true, so that
 15 argument fails.
 16              The argument also fails because an insurer’s obligation to act reasonably and
 17 in good faith “‘is independent of the contract and attaches over and above the terms
 18 of the contract.’” Gruenberg v. Aetna Ins. Co., 9 Cal. 3d 566, 578 (1973) (quoting
 19 Jones v. Kelly, 208 Cal. 251, 255 (1929)). While unreasonably denying insurance
 20 benefits commonly underpins bad faith claims, an insurer also acts in bad faith when
 21 it fails to act reasonably in processing and handling a claim. Id.; see also Egan v.
 22 Mut. of Omaha Ins. Co., 24 Cal. 3d 809, 819 (1979) (failing to reasonably
 23 investigate a claim is bad faith); Richardson v. Emp’rs Liab. Assurance Co., 25 Cal.
 24 App. 3d 232, 245 (1972) (an insurer acts in bad faith when it knows there is
 25 coverage but denies the claim anyway). “The insurer may not just focus on those
 26 facts which justify denial of the claim” because, “denial of a claim on a basis
 27 unfounded in the facts known to the insurer, or contradicted by those facts, may be
 28 deemed unreasonable.” Wilson v. 21st Century Ins. Co., 42 Cal. 4th 713, 721 (2007).
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  1              Here, there are facts that show that Markel acted in bad faith when it handled
  2 UTA’s claim for coverage. For instance, under California law, an insurer acts
  3 unfairly and unreasonably when it fails to state promptly all factual and legal bases
  4 for its denial of a claim. Cal. Ins. Code § 790.03(h)(13). Indeed, the insurer must do
  5 so within 40 days of receiving notice of a claim. 10 Cal. Regs. Code § 2695.7(b).
  6 Markel, however, denied coverage for UTA’s claim by letter dated April 16, 2015,
  7 and made no mention of section 533. SAMF 4. Section 533 surfaced in subsequent
  8 correspondence between legal counsel 544 days later, in a letter dated October 11,
  9 2016. SAMF 5. Asserting a new defense long after Markel was required to provide
 10 “all bases for [its] rejection or denial and the factual and legal bases for each reason
 11 given for such rejection or denial which is then within the insurer’s knowledge” (10
 12 Cal. Regs. Code § 2695.7(b)(1)) is evidence of bad faith sufficient to overcome
 13 summary judgment. See Reid v. Mercury Ins. Co., 220 Cal. App. 4th 262, 275-76
 14 (2013) (reversing grant of summary judgment because violations of fair claims
 15 settlement laws can be evidence of bad faith).
 16              Markel further argues that “there was at most a genuine dispute as to the law
 17 regarding which MAIC’s position is at the very least reasonable . . . .” Mot. at 21.
 18 However, “[i]t is doubtful that the so-called ‘genuine dispute doctrine’ applies in
 19 third party duty to defend cases.” Mt. Hawley Ins. Co. v. Lopez, 215 Cal. App. 4th
 20 1385, 1424 (2013); Howard v. Am. Nat’l Fire Ins. Co., 187 Cal. App. 4th 498, 530
 21 (2010) (“It has never been held that an insurer in a third party case may rely on a
 22 genuine dispute over coverage to refuse settlement.”). And, regardless of Markel’s
 23 beliefs, there is evidence that contradicts its position that it acted appropriately.
 24 Indeed, Markel’s interpretation of the Professional Services Exclusion and reliance
 25 on section 533 are patently unreasonable, unjustified, and contrary under the
 26 customs, standards, and practices in the insurance industry. See SAMF 6.
 27              Taken in their totality, all of the above show that Markel has erected
 28 unreasonable obstacles to coverage, rather than performing a good faith attempt to
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  1 honor its promises of coverage by seeking out all possible bases to support UTA’s
  2 claim—as is its duty. Wilson, 42 Cal. 4th at 721. Accordingly, there is a genuine
  3 issue of material facts as to UTA’s bad faith cause of action. Shade Foods, Inc. v.
  4 Innovative Prods. Sales & Mktg., Inc., 78 Cal. App. 4th 847, 915 (2000) (“a shifting
  5 position with respect to coverage might strengthen an inference of bad faith”).
  6 Markel’s motion must be denied. See Reid, 220 Cal. App. 4th at 275-76.
  7 VII. CONCLUSION
  8              Markel does not carry its burden as to any aspect of its claimed entitlement to
  9 summary judgment. For the above reasons, Markel’s motion should be denied.
 10
 11 DATED: August 28, 2023                     PASICH LLP
 12
                                            By: /s/ Michael S. Gehrt
 13                                             Michael S. Gehrt
 14                                            Attorneys for Plaintiff
 15
 16
                                 CERTIFICATE OF COMPLIANCE
 17
      The undersigned, counsel of record for UTA, certifies that this brief contains 6,994
 18
      words, which complies with L.R. 11-6.1.
 19
 20 DATED: August 28, 2023                               /s/ Michael S. Gehrt
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                          OPPOSITION TO MARKEL’S MOTION FOR SUMMARY JUDGMENT
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